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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )        4:04CR3061
           Plaintiff,                )        4:05CR3017
                                     )        4:06CR3075
     vs.                             )
                                     )
KENNETH SLOMINSKI,                   )           ORDER
                                     )
           Defendant.                )


     IT IS ORDERED,

     The joint oral motion of the government and defendant
Slominski to unseal certain pleadings is granted, and the clerk
is directed to unseal filings 101, 102 and 105 in 4:04cr3061;
filings 36 and 38 in 4:05cr3017; and filings 29 and 31 in
4:06cr3075.

     DATED: December 19, 2006.

                                   BY THE COURT


                                   s/David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
